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 6
                                                             The Honorable Barbara J. Rothstein
 7
                            UNITED STATES DISTRICT COURT
 8                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 9
     D.S.; D.Y. by and through his next friend          NO. 2:21-cv-00113-BJR
10   JULIE KELLOGG-MORTENSEN; H.A.
     by and through his next friend KRISTEN
11   BISHOPP; and DISABILITY RIGHTS                     ORDER GRANTING JOINT
     WASHINGTON, a nonprofit membership                 MOTION FOR FINAL
12   organization for the federally mandated            APPROVAL OF CLASS ACTION
     Protection and Advocacy Systems,                   SETTLEMENT AGREEMENT
13
                              Plaintiffs,
14
            v.
15
     WASHINGTON STATE
16   DEPARTMENT OF CHILDREN,
     YOUTH, AND FAMILIES; and ROSS
17   HUNTER, in his official capacity as
     Secretary of the Washington State
18   Department of Children, Youth, and
     Families,
19
                              Defendants.
20

21
            THIS MATTER having come before the Court on the parties’ Joint Motion for Final
22
     Approval of Class Settlement Agreement (the “Joint Motion”) and having been duly
23
     considered, the Court makes the following findings:
24

25

26


      ORDER GRANTING JOINT MOTION                   1                     Disability Rights Washington
                                                                        315 5th Avenue South, Suite 850
      FOR FINAL APPROVAL OF CLASS                                          Seattle, Washington 98104
      ACTION SETTLEMENT AGREEMENT                                  Phone: (206) 324-1521 Fax: (206) 957-0729
      NO. 2:21-CV-00113
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 1           The Court has jurisdiction over the claims against all Defendants pursuant to 28 U.S.C. §§
 2   1331, 1343(a). Venue is proper in the Western District of Washington pursuant to 28 U.S.C. §
 3
     1391(b).
 4
             The Court preliminarily approved the parties’ proposed Settlement Agreement on June
 5
     24, 2022. ECF No. 97. The Court further approved the parties’ notice to class members
 6
     regarding the proposed settlement, Exhibit B to the Declaration of Susan Kas in Support of
 7

 8   Plaintiffs’ Motion for Preliminary Approval, ECF No. 93-2, and the method for distributing the

 9   notice as described in the Notice Plan, attached as Exhibit C to the Declaration of Susan Kas in
10   Support of Plaintiffs’ Motion for Preliminary Approval, ECF No. 93-3. The parties complied
11
     with the Notice Plan in all material respects, meeting the due process requirements of the
12
     United States Constitution and Fed. R. Civ. P. 23(e). ECF Nos. 98-100.
13
             Class members had until August 12, 2022 to submit written objections. The Court
14
     conducted a final approval hearing on September 7, 2022, in Seattle, Washington. Counsel for
15

16   Plaintiffs and Defendants presented argument as to why the Settlement Agreement is fair,

17   reasonable, and adequate and should be approved. Class members and others thereby affected

18   received adequate opportunity to object.
19           The proposed Settlement Agreement, attached as Exhibit A to the Declaration of Susan
20
     Kas in Support of Plaintiffs’ Motion for Preliminary Approval, ECF No. 94-1, is fair, reasonable,
21
     and adequate in light of the relief Plaintiffs have obtained in settlement to achieve the goals of the
22
     litigation. Further litigation would expose both sides to risk and expense, given the complexity of
23
     this lawsuit and the likely duration of litigation. The Settlement Agreement is the result of arms’
24

25   length negotiations, conducted with the assistance of a skilled neutral mediator and after thorough

26   factual and legal investigation and discovery, and is not the product of fraud, collusion, or



      ORDER GRANTING JOINT MOTION                         2                        Disability Rights Washington
                                                                                 315 5th Avenue South, Suite 850
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 1   overreaching. No class member or interested party has raised concerns that alter the underlying
 2   fairness, reasonableness, and adequacy of the Settlement Agreement.
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            The Court, having fully considered the matter and good cause appearing, hereby ORDERS:
 4
            1. The parties’ Joint Motion for Final Approval of Class Action Settlement Agreement
 5
                is GRANTED. The Court FINDS and CONCLUDES that the settlement is fair,
 6
                reasonable, and adequate.
 7

 8          2. The parties’ Settlement Agreement and Order, attached as Exhibit A to the

 9              Declaration of Susan Kas in Support of Plaintiffs’ Motion for Preliminary Approval,
10              ECF No. 94-1, is APPROVED and INCORPORATED HEREIN.
11
            3. The parties to the Settlement Agreement and Order shall perform all of their
12
                obligations thereunder. The case is DISMISSED, but the Court shall retain
13
                jurisdiction over the matter to enforce the provisions of the Settlement Agreement
14

15              and Order until Defendants’ obligations terminate under paragraph 36 of the

16              Agreement.

17          4. The Settlement Agreement and Order is binding on class members. It settles all of
18              Plaintiffs’ claims for class-wide injunctive relief against Defendants that were
19
                asserted in the Complaint filed on January 28, 2021.
20
            IT IS SO ORDERED.
21

22          DATED this 9th day of August, 2022.
23

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25                                    BARBARA J. ROTHSTEIN
                                      United States District Judge
26


      ORDER GRANTING JOINT MOTION                      3                       Disability Rights Washington
                                                                             315 5th Avenue South, Suite 850
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      ACTION SETTLEMENT AGREEMENT                                       Phone: (206) 324-1521 Fax: (206) 957-0729
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